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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

Reda Amir,
Plaintiff,
Vv. Civil Action No. 1:20-ev-01345

PNC Bank, National Association

Defendant.

STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

The parties, by and through their respective counsel of record, and pursuant to Rule
41(a)(1 )(A)(i), Fed. R. Civ. P., hereby stipulate and agree that the above-captioned action shall be,
and hereby is, dismissed with prejudice, with the parties to bear their own respective fees and costs

incurred herein.

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[tis so ORDERED this 4 dayof AV Ar. ,2021.
Anthony J. Trana

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U.S. District Coprt for the
Eastern District of Virginia

